
PER CURIAM.
We affirm the award of rehabilitative alimony and child support because there is no showing that the trial court abused its discretion. See Kuvin v. Kuvin, 442 So.2d 203 (Fla.1983); Conner v. Conner, 439 So.2d 887 (Fla.1983); Lopez v. Lopez, 438 So.2d 984 (Fla. 3d DCA 1983). We remand, however, so that the trial court may adjudicate the remaining issues not disposed of in the final judgment, specifically, a division of personal property acquired and debts incurred by the parties during the course of the marriage, and provision for medical insurance coverage for the minor child.
Affirmed in part, reversed in part, and remanded.
